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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------
In re                                :
Inspection of                        :
                                     :                       NO. 21-mj-1854
Lloyd Industries, Inc.               :
located at 231 Commerce Drive        :
Montgomeryville, Pennsylvania 18936  :
------------------------------------

                      APPLICATION FOR INSPECTION WARRANT

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

       Jean G. Kulp, Area Director of the Allentown Area Office, Occupational Safety and

Health Administration (OSHA), United States Department of Labor, hereby applies for a warrant

pursuant to section 8 of the Occupational Safety and Health Act of 1970, 29 U.S.C. § 657, to

inspect the workplace described in the above caption. As grounds for the issuance of the

warrant, after first being sworn, I depose and state:

       1.      I am the Area Director of OSHA’s Allentown Area Office. In that capacity, I

supervise the inspection activities of OSHA’s Compliance Safety and Health Officers assigned to

the Allentown Area Office. Moreover, I have the responsibility of making applications for

inspection warrants under section 8(a) of the Act, 29 U.S.C. § 657(a).

       2.      Lloyd Industries, Inc. is a corporation engaged in the business of manufacturing

fire and smoke dampers.

       3.      Lloyd Industries, Inc. is an employer within the meaning of section 3(5) of the

Act, 29 U.S.C. § 652(5), in that it employs employees within the meaning of section 3(6) of the

Act, 29 U.S.C. § 652(6), in a business affecting commerce.
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        4.      The OSHA Allentown Area Office intends to conduct a follow-up inspection of

the workplace identified in the caption above pursuant to a neutral administrative plan, which is

described in detail below.

        5.      OSHA seeks an administrative warrant in anticipation of arriving at the workplace

because Lloyd Industries, Inc. (the employer) has, in the past, refused to allow OSHA to conduct

inspections without a warrant and, on one occasion, denied entry even after OSHA obtained a

warrant, necessitating that U.S. Marshals accompany OSHA back to the worksite. We anticipate

that the employer will very likely deny or at least delay entry again, and therefore seek to obtain

a warrant prior to our initial visit to the worksite.

        6.      The authority for issuance of an administrative inspection warrant is found at

Section 8(a) of the Occupational Safety and Health Act (“the OSH Act”), 29 U.S.C. § 651 et

seq., and Marshall v. Barlow’s Inc., 436 U.S. 307 (1978). Sections 8(a)(1) and (a)(2) of the OSH

Act, 29 U.S.C. §§ 657(a)(1) and (a)(2), specifically authorize the Secretary of Labor to make

inspections and investigations at any reasonable time, at any plant, factory, establishment,

construction site, or other area, workplace, or environment where work is performed by an

employee of any employer.

        7.      The Fourth Amendment’s Warrant Clause applies to OSHA inspections. See

Marshall, 436 U.S. 307. Therefore, OSHA must obtain an administrative warrant to conduct an

inspection if the employer denies entry.

        8.      The administrative probable cause standard for issuance of an OSHA inspection

warrant may be met by showing that the workplace has been identified through “an

administrative plan containing specific neutral criteria” that are satisfied with respect to the




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workplace. Martin v. Int’l Matex Tank Terminals-Bayonne, 928 F.2d 614, 622 (3d Cir. 1991)

(citing Barlow’s, 436 U.S. at 320).

        9.      In this case, that probable cause standard is satisfied, since the employer has been

identified through an administrative plan containing specific, neutral criteria that are satisfied

here.

        10.     This inspection is an “Enhanced Follow-Up Inspection” pursuant to OSHA’s

“Severe Violator Enforcement Program (SVEP).” See OSHA CPL 02-00-149, attached as

Exhibit A and available online at https://www.osha.gov/enforcement/directives/cpl-02-00-149.

        11.     This neutral administrative program establishes “Severe Violator Enforcement

Cases,” defined as any case that meets one or more of four listed criteria. See SVEP Section XI.

One of the four criteria, and the one relevant here, is, “An inspection in which OSHA finds two

or more willful or repeated violations . . . based on high gravity serious violations related to a

High-Emphasis Hazard as defined in Section XII.”

        12.     That definition encompasses several terms unique to OSHA: (1) willful

violations; (2) high gravity serious violations; and (3) violations related to a High-Emphasis

Hazard.

        13.     A willful violation of the OSH Act is one “done voluntarily with either an

intentional disregard of, or plain indifference to, the [OSH] Act’s requirements.” Bianchi Trison

Corp. v. Chao, 409 F.3d 196, 208 (3d Cir. 2005) (citation omitted).

        14.     A “high gravity serious violation” is a violation that has a relatively high

probability (or substantial probability) of resulting in death or serious injury. 1


  1
   This definition is found in part in the OSH Act and in part in OSHA Instruction CPL 02-00-
164, Field Operations Manual (“FOM”), https://www.osha.gov/enforcement/directives/cpl-02-
00-164. Under the OSH Act, a “serious” violation exists when conditions or practices at a
workplace create a “substantial probability that death or serious physical harm could result.” 29


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       15.     Violations related to High-Emphasis Hazards are violations involving a variety of

different types of hazards, including standards intended to prevent amputations (such as 29

C.F.R. § 1910.212, discussed below). See SVEP Section XII.F.

       16.     All Severe Violator Enforcement Cases are then subject to certain procedures,

including “Enhanced Follow-up Inspections.” See SVEP Section XV.A. Specifically, “a follow-

up inspection must be conducted after the citations become final orders . . . . The purpose of the

follow-up inspection is to assess not only whether the cited violation(s) were abated, but also

whether the employer is committing similar violations.” SVEP Section XV.A.1.

       17.     Here, a follow-up inspection is required because the employer was previously the

subject of a Severe Violator Enforcement Case.

       18.     In 2015, OSHA inspected the workplace and issued citations, which the employer

contested. A two-week trial was conducted in 2016 that resulted in an Administrative Law Judge

issuing an order in 2017 affirming most of the OSHA violations. See Decision and Order,

attached as Exhibit B.

       19.     That decision included affirming several high gravity serious violations of 29

C.F.R. § 1910.212 (the standard mentioned above), two of which were classified as “willful.”

See Ex. B at 15-35.

       20.     Thus, the case was a Severe Violator Enforcement Case because the ALJ affirmed

(1) two willful violations (2) based on high gravity serious violations that were (3) related to a




U.S.C. § 666(k). Pursuant to the FOM, a “high gravity” violation is a violation classified by
OSHA as both “high severity” (involving the potential for death or a permanent disabling injury)
and “greater probability” (when the likelihood that an injury or illness will occur is relatively
high). See FOM at Chapter 6, Section III.A.4.


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High-Emphasis Hazard in that they were violations of 29 C.F.R. § 1910.212 which is a standard

intended to prevent amputations.

       21.     The ALJ decision became a final order of the Commission on July 21, 2017. See

Notice of Docketing of Administrative Law Judge’s Decision, attached as Exhibit C.

       22.     OSHA is therefore required by the SVEP to conduct this follow-up inspection.

       23.     An anticipatory warrant is needed for this follow-up inspection because this

employer has, on multiple occasions, denied or delayed OSHA’s entry into the workplace and

has interfered with OSHA’s inspections of the workplace. See 29 C.F.R. § 1903.4(b)(1)

(discussing when anticipatory warrants may be appropriate).

       24.     On one occasion, in 2008, the employer initially denied entry and, after OSHA

obtained and returned with a warrant, the employer refused to honor the warrant and again

denied entry. After OSHA reported to the District Court that the employer had refused to honor

the warrant, the Court issued an order directing U.S. Marshals to escort OSHA back to the

worksite and accompany OSHA during its inspection. Only then did the employer allow OSHA

to enter the worksite and conduct its inspection.

       25.     On another occasion, in 2016, when OSHA obtained an anticipatory warrant, the

employer delayed OSHA’s entry into the worksite while the owner and employees altered unsafe

conditions before OSHA could observe and document them. Thus, the employer has proven its

willingness to use delay as a tactic to hide the unsafe conditions to which its employees are

exposed. 2


 2
    At trial, the OSHA compliance officer testified that the owner Mr. Lloyd made him wait in a
conference room for 15 minutes before allowing him to enter the shop, and a current employee
testified that during that time, he was instructed to correct, and did correct, multiple unsafe
conditions. See Portions of Trial Transcript, attached as Ex. D, at 145:22-146:22; 1457:24-
1459:19.


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       26.       If the Court issues the proposed administrative warrant, OSHA compliance

officers will be accompanied by special agents from the U.S. Department of Labor Office of

Inspector General. Based on this employer’s history of denying entry even when OSHA has a

warrant, and delaying entry to alter conditions even when OSHA has a warrant, the presence of

the Office of Inspector General will help ensure that OSHA can immediately enter the workplace

without delay.

       27.       The OSHA inspection will be conducted during regular working hours, within

reasonable limits, and in a reasonable manner, and the compliance officer’s credentials will be

presented to the employer.

       28.       The scope of the inspection will be consistent with the purposes of the SVEP’s

Enhanced Follow-Up Inspection requirement, namely “to assess . . . whether the employer is

committing similar violations.” SVEP Section XV.A.1. In particular, the proposed warrant

limits the scope of the inspection to violations similar to those that were affirmed in Docket Nos.

15-0846 and 15-0847, which became a final order of the Occupational Safety and Health Review

Commission on July 21, 2017, and any hazards in plain view.

       29.       The inspection will also include the taking of photographs and/or videotaping for

evidentiary purposes, and the questioning of employers, owners, operators, agents and

employees privately during working hours at the worksite, as authorized by 29 C.F.R.

§ 1903.7(b). The inspection may also include the affixing of monitoring devices upon

employees to determine the extent of their exposure to airborne contaminants and/or noise, as

authorized by 29 C.F.R. § 1903.7(b).

       30.       The inspection and investigation shall also include the opportunity for a

representative of the employer and a representative authorized by employees to accompany the




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OSHA compliance officer during the physical inspection of the workplace. In the alternative, if

there is no authorized representative of employees pursuant to section 8(e) of the OSH Act, 29

U.S.C. § 657(e) and 29 C.F.R. § 1903.8, the compliance officer shall consult with a reasonable

number of employees during the inspection of the worksite concerning matters of health and

safety in the workplace.

       31.     The inspection shall commence within fourteen (14) days after the issuance of the

warrant, and shall proceed for a reasonable period of time in order to fulfill the objectives of the

SVEP’s follow-up inspection requirement. OSHA may return to the worksite on subsequent

days if the inspection cannot be completed within one day.

       17.     A return will be made to the Court within seven (7) calendar days after the

completion of the on-site inspection.                                           Digitally signed by Jean

                                                              Jean G. Kulp G.Date:
                                                                               Kulp
                                                                                   2021.12.10
                                                              ______________________________
                                                                            10:12:14 -05'00'

                                                              Jean G. Kulp, Area Director
                                                              Allentown Area Office
                                                              Occupational Safety and Health
                                                              Administration, Region III
                                                              United States Department of Labor
OF COUNSEL:

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Philadelphia, PA 19103
(215) 861-5139

                                                      10thday of ____________
Sworn to before me and subscribed in my presence this ___         December    2021.



                                           /s/ Elizabeth T. Hey
                                          _____________________________________
                                          ELIZABETH T. HEY
                                          UNITED STATES MAGISTRATE JUDGE




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                    Exhibit A to Lloyd Industries Warrant Application
11/4/21, 3:51 PM                          Severe Violator Enforcement Program (SVEP) | Occupational Safety and Health Administration



   Directives / Severe Violator Enforcement Program (SVEP)



      Record Type:                 OSHA Instruction
      Current Directive
      Number:                      CPL 02-00-149
      Old Directive
      Number:                      CPL 02-00-149
      Title:                       Severe Violator Enforcement Program (SVEP)
      Information Date:            06/18/2010



   OSHA INSTRUCTION

    DIRECTIVE NUMBER: CPL 02-00-149                                             EFFECTIVE DATE: June 18, 2010

    SUBJECT: Severe Violator Enforcement Program (SVEP)




                                                                   ABSTRACT



    Purpose:              This Instruction establishes enforcement policies and procedures for OSHA's Severe Violator
                          Enforcement Program (SVEP), which concentrates resources on inspecting employers who
                          have demonstrated indifference to their OSH Act obligations by willful, repeated, or failure-to-
                          abate violations. This Instruction replaces OSHA's Enhanced Enforcement Program (EEP).


    Scope:                OSHA-wide.


    References:           OSHA Instruction CPL 02-00-069, Special Emphasis: Trenching and Excavation, September
                          19, 1985; OSHA Instruction CPL 02-00-080, Handling of Cases To Be Proposed for Violation-
                          By-Violation Penalties, October 21, 1990; OSHA Instruction CPL 02-00-136, National
                          Emphasis Program (NEP) on Shipbreaking, March 16, 2005; OSHA Instruction CPL 02-00-148,
                          Field Operations Manual (FOM), November 9, 2009; OSHA Instruction CPL 03-00-003,
                          National Emphasis Program on Amputations, October 27, 2006; OSHA Instruction CPL 03-00-
                          010, Petroleum Refinery Process Safety Management National Emphasis Program, August 18,
                          2009; OSHA Instruction CPL 03-00-007, National Emphasis Program - Crystalline Silica,
                          January 24, 2008; OSHA Instruction CPL 03-00-008 - Combustible Dust National Emphasis
                          Program (Reissued), March 11, 2008; and OSHA Notice 09-06 (CPL 02) PSM Covered
                          Chemical Facilities National Emphasis Program, July 27, 2009.


    Cancellations: OSHA Instruction CPL 02-00-145, Enhanced Enforcement Program (EEP), January 1, 2008.




https://www.osha.gov/enforcement/directives/cpl-02-00-149                                                                              1/25
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    State Impact:         Notice of Intent, Adoption and Submission of a Plan Change Required. See section VI.


    Action                National, Regional, Area Offices and State Plan States.
    Offices:

    Originating           Directorate of Enforcement Programs.
    Office:

    Contact:              Directorate of Enforcement Programs
                          Office of General Industry Enforcement
                          200 Constitution Avenue, NW, N-3119
                          Washington, DC 20210




   By and Under the Authority of

   David Michaels, PhD, MPH
   Assistant Secretary




                                                            Executive Summary

   This Instruction establishes enforcement policies and procedures for OSHA's Severe Violator Enforcement
   Program (SVEP), which concentrates resources on inspecting employers who have demonstrated indifference to
   their OSH Act obligations by committing willful, repeated, or failure-to-abate violations. Enforcement actions for
   severe violator cases include mandatory follow-up inspections, increased company/corporate awareness of OSHA
   enforcement, corporate-wide agreements, where appropriate, enhanced settlement provisions, and federal court
   enforcement under Section 11(b) of the OSH Act. In addition, this Instruction provides for nationwide referral
   procedures, which includes OSHA's State Plan States. This Instruction replaces OSHA's Enhanced Enforcement
   Program (EEP).

                             Significant Changes from the Enhanced Enforcement Program (EEP)

        High-Emphasis Hazards are targeted, which include fall hazards and specific hazards identified from selected
        National Emphasis Programs.

        The Assistant Secretary has determined that Nationwide Inspections of Related Workplaces/ Worksites are
        critical inspections for the purpose of 29 CFR §1908.7(b)(2)(iv).


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        Creates a nationwide referral procedure for Regions and State Plan States.




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        F. Amputation Hazards
        G. Combustible Dust Hazards

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     I. Purpose. This Instruction establishes enforcement policies and procedures for OSHA's Severe Violator
        Enforcement Program (SVEP), which concentrates resources on inspecting employers who have demonstrated
        indifference to their OSH Act obligations by committing willful, repeated, or failure-to-abate violations. This
        Instruction replaces OSHA's Enhanced Enforcement Program (EEP).

    II. Scope.

        This Instruction applies OSHA-wide.

    III. References.

        A. OSHA Instruction CPL 02-00-069 - CPL 2.69 - Special Emphasis: Trenching and Excavation, September
           19, 1985.

        B. OSHA Instruction CPL 02-00-136, National Emphasis Program (NEP) on Shipbreaking, March 16, 2005.

        C. OSHA Instruction CPL 02-00-148 - Field Operations Manual (FOM), November 9, 2009.

        D. OSHA Instruction CPL 03-00-003 - National Emphasis Program on Amputations, October 27, 2006.

        E. OSHA Instruction CPL 03-00-010 - Petroleum Refinery Process Safety Management National Emphasis
           Program, August 18, 2009.

         F. OSHA Instruction CPL 03-00-007 - National Emphasis Program — Crystalline Silica, January 24, 2008.

        G. OSHA Instruction CPL 03-00-008 - Combustible Dust National Emphasis Program (Reissued), March 11,
           2008.

        H. OSHA Instruction CPL 03-00-009 - OSHA Instruction; National Emphasis Program-Lead, August 14, 2008.

         I. OSHA Instruction 09-06 (CPL 02) - PSM Covered Chemical Facilities National Emphasis Program, July 27,
            2009.

         J. OSHA Instruction CSP 01-00-002, State Plan Policies and Procedures Manual, March 21, 2001.

        K. OSHA Instruction CPL 02-00-080 Handling of Cases To Be Proposed for Violation-By-Violation Penalties,
           October 21, 1990.

   IV. Cancellations.

        OSHA Instruction CPL 02-00-145, Enhanced Enforcement Program (EEP), January 1, 2008.

    V. Action Information.

        A. Responsible Office.

            Directorate of Enforcement Programs (DEP).



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        B. Action Offices.

            National Office, Regional Offices, Area Offices, and State Plan States.

        C. Information Offices.

            OSHA Training Institute, Consultation Project Managers, VPP Managers and Coordinators, OSHA Strategic
            Partnership Coordinators, Compliance Assistance Coordinators, and Compliance Assistance Specialists.

   VI. State Impact.

        Notice of Intent, Adoption and Submission of a Plan Change Supplement Required. This Instruction is a
        Federal program change which cancels OSHA's Enhanced Enforcement Program and establishes the Severe
        Violator Enforcement Program (SVEP). The purpose of the SVEP is to focus increased enforcement attention
        on significant hazards and violations by concentrating on employers who have demonstrated indifference to
        their occupational safety and health obligations through willful, repeated, or failure-to-abate violations in (1) a
        fatality or catastrophe situation; (2) in industry operations or processes that expose employees to the most
        severe occupational hazards and those identified as "High-Emphasis Hazards," as defined in Section XII. of
        this Instruction (p. 5); (3) exposing employees to hazards related to the potential release of a highly hazardous
        chemical; or (4) all egregious enforcement actions. Because the significant nature of this program requires
        nationwide applicability, States are required to either adopt this program or establish their own equivalent
        program which must include enforcement procedures for identifying and taking action with regard to these
        recalcitrant and indifferent employers and for making referrals to, and responding to referrals from, Federal
        OSHA. As set out in paragraph XV.B.3. (p.12), Federal OSHA will accept referrals from State plans and
        conduct appropriate inspections.

        Each State must provide notice of its intent to adopt either policies or procedures identical to those set out in
        this instruction, or alternative policies and procedures that are at least as effective. State policies and
        procedures must be adopted within six months of issuance of this instruction. If the State adopts policies and
        procedures that differ from the Federal program, the State must submit its different policies and procedures as
        a plan change supplement with identification of the differences, within 60 days of adoption, and either post its
        different policies on its State plan website and provide the link to OSHA or provide OSHA with information on
        how the public may obtain a copy. If the State adopts identical policies and procedures, it must provide the date
        of adoption to OSHA and information on any State-specific procedures. OSHA will provide summary
        information on the State responses to this instruction on its website.

  VII. Background.

        The SVEP is intended to focus enforcement efforts on significant hazards and violations by concentrating
        inspection resources on employers who have demonstrated recalcitrance or indifference to their OSH Act
        obligations by committing willful, repeated, or failure-to-abate violations in one or more of the following
        circumstances: (1) a fatality or catastrophe situation; (2) in industry operations or processes that expose
        employees to the most severe occupational hazards and those identified as "High-Emphasis Hazards," as
        defined in Section XII. of this Instruction (p.5); (3) exposing employees to hazards related to the potential
        release of a highly hazardous chemical; or (4) all egregious enforcement actions.

        Cases meeting the severe violator enforcement criteria are those in which the employer is found to be
        recalcitrant or indifferent to its obligations under the OSH Act, thereby endangering employees. The SVEP
        procedures in Section XV. (p.10) are intended to increase attention on the correction of hazards found in these
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        workplaces and, where appropriate, in other worksites of the same employer where similar hazards and
        deficiencies may be present. This program applies to all employers regardless of size.

  VIII. Transition between the EEP and the SVEP.

        On the effective date of this Instruction, both the original EEP (referred to as EEP or EEP1) and the revised
        EEP (referred to as EEP2) will terminate (including any follow-up inspections that have not yet been
        performed). However, Area Directors have the discretion to conduct any follow-up inspections related to the
        EEP in accordance with the policies and procedures in the FOM (CPL 02-00-148, Chapter 2, Program
        Planning).

   IX. Significant Changes.

        A. High-Emphasis Hazards are targeted and include fall hazards and hazards identified from the following
           National Emphasis Programs (NEPs): amputations, combustible dust, crystalline silica,
           excavation/trenching, lead, and shipbreaking. See section XII. (p.5).

        B. The Assistant Secretary by this Instruction determines that the specific inspections under the Nationwide
           Inspections of Related Workplaces/Worksites process are critical inspections for the purpose of 29 CFR
           §1908.7(b)(2)(iv) and delegates to the Director of the Directorate of Enforcement Programs the authority to
           determine site selections of those related workplaces/worksites. See paragraph XV.B.7.b. (p.16).

        C. A nationwide referral procedure is being initiated in which OSHA may inspect related worksites/workplaces
           of a SVEP employer. See section XV.B. (p.11).

    X. Handling Severe Violator Enforcement Cases.

        A. Compliance Officers (CSHOs) must become familiar with Appendix B to effectively evaluate employers
           during all inspections likely to result in a severe violator enforcement case.

        B. The Area Director will identify severe violator enforcement cases no later than at the time the citations are
           issued, in accordance with criteria set forth in this Instruction.

        C. Federal Agency cases that meet the SVEP case criteria will also be classified as severe violator
           enforcement cases, and where the term "employer-wide" or "company-wide" is used, it will apply agency-
           wide or department-wide, as appropriate. Appropriate SVEP actions for such cases will be determined by
           the Area Director in consultation with the Regional Administrator.

        D. When a case meets the severe violator enforcement case criteria, the Area Director will notify the Regional
           Administrator, who in turn will notify the Directorate of Enforcement Programs (DEP).

        E. Regional Administrator notification to DEP must be by e-mail using the SVEP-group e-mail address on
           OSHA's Global Address list: "zzOSHA-SVEP." The notification must be at least monthly (by the 20th of the
           month) and include the information requested in Appendix A. Regions must use the Excel spreadsheet
           format that will be sent to the SVEP Regional Coordinators shortly after this Instruction becomes effective.

   XI. Criteria for a Severe Violator Enforcement Case.

        Any inspection that meets one or more of criteria A. through D., at the time that the citations are issued, will be
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        considered a severe violator enforcement case.

        Willful and repeated citations and failure-to-abate notices must be based on serious violations, except for
        recordkeeping, which must be egregious (e.g., per-instance citations). See FOM, CPL 02-00-148, Chapter 6,
        paragraphs V.A.1. and VI.A.1.

        A. Fatality/Catastrophe Criterion.

            A fatality/catastrophe inspection in which OSHA finds one or more willful or repeated violations or failure-
            to-abate notices based on a serious violation related to a death of an employee or three or more
            hospitalizations.

            NOTE: The violations under this criterion do not have to be High-Emphasis Hazards as defined in
            Section XII. (p.5).

        B. Non-Fatality/Catastrophe Criterion Related to High-Emphasis Hazards.

            An inspection in which OSHA finds two or more willful or repeated violations or failure-to-abate notices
            (or any combination of these violations/notices), based on high gravity serious violations related to a
            High-Emphasis Hazard as defined in Section XII. (p. 5).

        C. Non-Fatality/Catastrophe Criterion for Hazards Due to the Potential Release of a Highly Hazardous
           Chemical (Process Safety Management).

            An inspection in which OSHA finds three or more willful or repeated violations or failure-to-abate notices
            (or any combination of these violations/notices), based on high gravity serious violations related to
            hazards due to the potential release of a highly hazardous chemical, as defined in the PSM standard.

        D. Egregious Criterion.

            All egregious (e.g., per-instance citations) enforcement actions will be considered SVEP cases.

  XII. Definition of High-Emphasis Hazards.

        High-Emphasis Hazards as used in this Instruction means only high gravity serious violations of the following
        specific standards covered under falls or the National Emphasis Programs (NEPs) listed in paragraphs F.
        through K. below, regardless of the type of inspection being conducted (e.g., complaint, SST, Local
        Emphasis Programs, National Emphasis Programs). Low and moderate gravity violations will not be
        considered for a SVEP case. See Chapter 4, section II, Serious Violations, and Chapter 6, section III.A Gravity
        of Violation of the FOM (CPL 02-00-148) for determining what constitutes a high gravity serious violation.

        Example 1: A CSHO conducts an SST inspection and cites the employer for one high gravity willful violation of
        29 CFR §1910.23 and one low gravity willful violation of 29 CFR §1910.28. The inspection has not met the
        Non-Fatality/Catastrophe Criterion Related to High-Emphasis Hazards and is not subject to the SVEP.

        Example 2: A CSHO conducts a Local Emphasis Program inspection for Residential Construction. While on-
        site, the CSHO observes employees working in an unsupported trench and cites the employer for two high
        gravity willful violations of 29 CFR §1926.651. The inspection has met the Non-Fatality/Catastrophe Criterion
        Related to High-Emphasis Hazards and the case is subject to the SVEP.
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        Example 3: A CSHO conducts a National Emphasis Program inspection for Shipbreaking. While on-site, the
        CSHO observes a piece of scrap metal from the dismantled vessel being lifted with a crane over top of an
        employee with a kinked wire rope. The employer is cited for one high gravity repeat violation of 29 CFR
        §1915.112 and one high gravity willful violation of 29 CFR §1915.116. The inspection has met the Non-
        Fatality/Catastrophe Criterion Related to High-Emphasis Hazards and the case is subject to the SVEP.

        A. Fall hazards covered under the following general industry standards:

             1. 29 CFR §1910.23 - Guarding floor and wall openings and holes [Walking-Working Surfaces]

             2. 29 CFR §1910.28 - Safety requirements for scaffolding [Walking-Working Surfaces]

             3. 29 CFR §1910.29 - Manually propelled mobile ladder stands and scaffolds (towers) [Walking-Working
                Surfaces]

             4. 29 CFR §1910.66 - Powered platforms for building maintenance [Powered Platforms, Manlifts, and
                Vehicle-Mounted Work Platforms]

             5. 29 CFR §1910.67 - Vehicle-mounted elevating and rotating work platforms [Powered Platforms, Manlifts,
                and Vehicle-Mounted Work Platforms]

             6. 29 CFR §1910.68 - Manlifts [Powered Platforms, Manlifts, and Vehicle-Mounted Work Platforms]

        B. Fall hazards covered under the following construction industry standards:

             1. 29 CFR §1926.451 - General requirements [Scaffolds]

             2. 29 CFR §1926.452 - Additional requirements applicable to specific types of scaffolds

             3. 29 CFR §1926.453 - Aerial lifts [Scaffolds]

             4. 29 CFR §1926.501 - Duty to have fall protection

             5. 29 CFR §1926.502 - Fall protection systems criteria and practices

             6. 29 CFR §1926.760 - Fall protection [Steel Erection]

             7. 29 CFR §1926.1052 - Stairways [Ladders]

        C. Fall hazards covered under the following shipyard standards:

             1. 29 CFR §1915.71 - Scaffolds or staging [Scaffolds, ladders and Other Working Surfaces]

             2. 29 CFR §1915.73 - Guarding of deck openings and edges [Scaffolds, ladders and Other Working
                Surfaces]

             3. 29 CFR §1915.74 - Access to vessels [Scaffolds, ladders and Other Working Surfaces]

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             4. 29 CFR §1915.75 - Access to and guarding of dry docks and marine railways [Scaffolds, ladders and
                Other Working Surfaces]

             5. 29 CFR §1915.159 - Personal fall arrest systems (PFAS) [Personal Protective Equipment (PPE)]

        D. Fall hazards covered under the following marine terminal standards:

             1. 29 CFR §1917.45 - Cranes and derricks [Cargo Handling Gear and Equipment]

             2. 29 CFR §1917.49 - Spouts, chutes, hoppers, bins, and associated equipment [Cargo Handling Gear and
                Equipment]

             3. 29 CFR §1917.112 - Guarding of edges [Terminal Facilities]

        E. Fall hazards covered under the following longshoring standards:

             1. 29 CFR §1918.22 - Gangways [Gangways and Other Means of Access]

             2. 29 CFR §1918.85 - Containerized cargo operations [Handling Cargo]

         F. Amputation hazards specified below that are covered under the National Emphasis Program on
            Amputations. (See CPL03-00-003):

             1. 29 CFR §1910.147 - The control of hazardous energy (lockout/tagout)

             2. 29 CFR §1910.212 - General requirements for all machines

             3. 29 CFR §1910.213 - Woodworking machinery requirements

             4. 29 CFR §1910.217 - Mechanical power presses

             5. 29 CFR §1910.219 - Mechanical power-transmission apparatus

        G. Combustible dust hazards specified below that are covered by the Combustible Dust National Emphasis
           Program (Reissued), including the General Duty Clause (Sec. 5(a)(1) of the OSH Act). (See CPL 03-00-
           008):

             1. 29 CFR §1910.22 - General requirements [Walking-Working Surfaces]

             2. 29 CFR §1910.307 - Hazardous (classified) locations [Electrical]

             3. Sec. 5(a)(1) of the OSH Act

                   Any General Duty Clause violation concerning hazards related to dust collectors inside buildings,
                   deflagration isolation systems, and duct-work issues.

        H. Crystalline silica hazards specified below that are covered by the National Emphasis Program —
           Crystalline Silica (See CPL 03-00-007):

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             1. Overexposure.

                   a. 29 CFR Part §1910.1000 and 29 CFR Part §1915.1000 - Air Contaminants

                   b. 29 CFR §1926.55 - Gases, vapors, fumes, dusts, and mists

             2. Failure to Implement Engineering Controls.

                   a. 29 CFR §1910.1000(e) - Air Contaminants

                   b. 29 CFR §1926.55(b) - Gases, vapors, fumes, dusts, and mists

             3. When Overexposure Occurs.

                   29 CFR §1910.134; 29 CFR §1926.103; and 29 CFR §1915.154 - Respiratory protection

            NOTE: The Silica NEP requires a mandatory follow-up inspection when overexposures to crystalline silica
            are found. If a follow-up inspection finds the same violations as previously cited, the follow-up inspection will
            most likely qualify as a SVEP case. See paragraph XV.A.4. (p.11).

         I. Lead hazards specified below that are covered by the National Emphasis Program — Lead (only violations
            based on sampling). See CPL 03-00-009.

             1. 29 CFR §1910.1025 - Lead

             2. 29 CFR §1926.62 - Lead

             3. 29 CFR §1915.1025 - Lead and 29 CFR §1915 Subpart D Welding, Cutting, and Heating

         J. Excavation/trenching hazards specified below that are covered by the Special Emphasis Program -
            Trenching and Excavation (See CPL 02-00-069)

             1. 29 CFR §1926.651 - Specific excavation requirements

             2. 29 CFR §1926.652 - Requirements for protective systems [Excavations]

        K. Shipbreaking hazards specified below that are covered by the National Emphasis Program —
           Shipbreaking. See CPL 02-00-136.

             1. 29 CFR §1915.12 - Precautions and the order of testing before entering confined and enclosed spaces
                and other dangerous atmospheres [Confined and Enclosed Spaces and Other Dangerous Atmospheres
                in Shipyard Employment]

             2. 29 CFR §1915.112 - Ropes, chains, and slings [Gear and Equipment for Rigging and Materials
                Handling]

             3. 29 CFR §1915.116 - Use of Gear [Gear and Equipment for Rigging and Materials Handling]



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             4. 29 CFR §1915.159 - Personal fall arrest systems (PFAS) [Personal Protective Equipment (PPE)]

             5. 29 CFR §1915.503 - Precautions for hot work [Fire Protection in Shipyard Employment]

  XIII. Hazards Due to the Potential Release of a Highly Hazardous Chemical (Process Safety Management).

        Petroleum refinery hazards are those hazards that are covered by the Petroleum Refinery Process Safety
        Management National Emphasis Program (See CPL 03-00-004) and hazards due to the potential release of a
        highly hazardous chemical as covered by the PSM Covered Chemical Facilities National Emphasis Program
        See Instruction 09-06 (CPL 02):

             29 CFR §1910.119 - Process safety management of highly hazardous chemicals


 XIV. Enforcement Considerations — Two or More Inspections of the Same Employer.

        For classification under the SVEP, each individual inspection must be evaluated separately to determine if it
        meets one of the criteria in XI.A., B., C., or D. (p. 4). If any of the inspections meet one of the severe violator
        criteria, it will be considered a SVEP case and coded according to paragraph XVIII.A. (p. 20).

  XV. Procedures of the Severe Violator Enforcement Program (SVEP).

        When the Area Director determines that a case meets one of the SVEP criteria, it will be treated in accordance
        with paragraphs XV.A. through E below. Only those SVEP actions that are appropriate for the particular
        employer should be taken.

        A. Enhanced Follow-up Inspections.

             1. General.

                   For any SVEP inspection issued on or after the effective date of this Instruction, a follow-up inspection
                   must be conducted after the citations become final orders even if abatement verification of the cited
                   violations has been received. The purpose of the follow-up inspection is to assess not only whether the
                   cited violation(s) were abated, but also whether the employer is committing similar violations.

             2. Compelling Reason Not to Conduct.

                   If there is a compelling reason not to conduct a follow-up inspection, the reason must be documented in
                   the file. The Region shall also report these cases monthly to the Director of Enforcement
                   Programs, along with the reason a follow-up was not initiated.

                   If a follow-up cannot be initiated, the follow-up column of the SVEP Log must be completed by giving the
                   reason. Examples of compelling reasons not to conduct a follow-up inspection may include: (1)
                   worksite/workplace closed, (2) employer is out of business, (3) operation cited has been discontinued at
                   the worksite/workplace, or (4) case no longer meets any of the SVEP criteria because citation has been
                   withdrawn/vacated.

                   NOTE: A Corrected During Inspection (CDI) situation does not take the place of a needed follow-up
                   inspection.

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                   If the Area Director learns that a cited operation has been moved from the cited location to a different
                   location, the new location shall be inspected. If the new location is outside the area office jurisdiction, a
                   referral shall be made.

             3. Construction Worksites.

                   When the Area Office has reason to believe that a construction worksite is no longer active (or is nearing
                   completion), thus making a follow-up inspection of the same worksite impossible or impractical, the
                   provisions in paragraph XV.B.5. (p. 15) shall apply. When a construction follow-up is attempted but the
                   employer is no longer at the site, it will not be added to the SVEP Log.

             4. Silica Overexposure Follow-ups.

                   The Silica NEP (CPL 03-00-007) in paragraph XI.E.1. requires a mandatory follow-up inspection when
                   citations are issued for overexposure to crystalline silica to determine whether the employer is
                   eliminating silica exposures or reducing exposures below the PEL. If a follow-up inspection finds the
                   same or similar violations as previously cited, the follow-up inspection will most likely qualify as a severe
                   violator enforcement case under the criteria in section XI. (p. 4).

        B. Nationwide Inspections of Related Workplaces/Worksites.

             1. General.

                   OSHA has found that employer indifference to compliance responsibilities under the Act may be
                   indicative of broader patterns of non-compliance at related employer worksites. When there are
                   reasonable grounds to believe that compliance problems identified in the initial inspection may be
                   indicative of a broader pattern of non-compliance, OSHA will inspect related worksites of the same
                   employer. Appendix B of this Instruction provides guidance in evaluating whether compliance problems
                   found during the initial SVEP inspection are localized or likely to exist at related facilities. This
                   information should be gathered, to the extent possible, during the initial SVEP inspection. Such
                   information may also be sought by letter, telephone, or if necessary, by subpoena.

                   The Regional Administrator shall be responsible for assuring that relevant information is gathered and
                   for determining whether the information provides reasonable grounds to believe that a broader pattern of
                   non-compliance may exist. The Regional Administrator shall consult with the Regional Solicitor as
                   appropriate. When sufficient evidence is found, all related establishments of the employer that are in the
                   same 3-digit NAICS code (or 2-digit SIC code) as the initial SVEP case will be identified; establishments
                   will be selected for inspection in accordance with subsection 4 below. Establishments that are not in the
                   same 3-digit NAICS code (or 2-digit SIC code) also may be inspected if there are reasonable grounds to
                   believe hazards and violations may be present at the related sites.

                   The Directorate of Enforcement programs will serve as the National Office point of contact for all SVEP
                   nationwide referrals. Any questions should be addressed to the Director or Deputy Director in DEP. All
                   Regional Administrators will name a SVEP Coordinator.

             2. Office of Statistical Analysis (OSA).

                   At the request of the Director of the Directorate of Enforcement Programs, the Regional Administrator, or
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                   the Regional Coordinator, OSA will assist in identifying similar and other related worksites nationwide
                   (including in State Plan States) of the same employer.

                   Establishments are related when there is common ownership. Related establishments include
                   establishments of corporations that are in the same corporate family, including subsidiary, affiliate, or
                   parent corporations with substantial common ownership.

                   Similar related establishments are related establishments that are in the same 3-digit NAICS code (or 2-
                   digit SIC code).

             3. State Plan State Referrals.

                   OSHA will accept referrals, which include all relevant facts, from State Plan States regarding any
                   inspections conducted pursuant to the State's SVEP. State Plan referrals to Federal OSHA are to be
                   sent to the Regional Administrator, who will forward any referrals not in its Region to the appropriate
                   OSHA Regional Administrator.

             4. General Industry Workplaces.

                   a. Employer Has Three (3) or Fewer Similar Related Workplaces.

                      When the Regional Administrator determines that additional workplaces within that region should be
                      inspected, and the employer has three or fewer similar related workplaces, all such workplaces will
                      be inspected to determine whether those sites have hazardous conditions or violations similar to
                      those in the severe violator enforcement case. The Regional Administrator shall have overall
                      responsibility for coordinating the inspections and planning investigative strategy. The Regional
                      Administrator shall consult with the Regional Solicitor as appropriate.

                      When any of the three or fewer workplaces that the Regional Administrator believes should be
                      inspected are in one or more of the Region's State Plan States, the information will be forwarded
                      to the State Plan Designee for inspection. A copy of the referral will also be sent to the Director of
                      DEP.

                      When any of the three or fewer workplaces that the Regional Administrator believes should be
                      inspected are in two or more Regions or a State Plan State in another Region, the information
                      will be forwarded to the appropriate Regional Administrator for inspection. A copy of the referral will
                      also be sent to the Director of DEP.

                   b. Employer Has Four (4) or More Similar Related Workplaces.

                      When the Regional Administrator determines that additional workplaces should be inspected, and
                      the employer has four or more similar related establishments within the Region or in other
                      Regions, or the number of workplaces/worksites cannot be determined, the Regional Administrator
                      will send the recommendation for inspection, including all relevant facts, to the Director of DEP. The
                      Director shall consult with the Associate Solicitor as appropriate.

                      (1) When the Director of DEP determines that there are reasonable grounds for inspecting similar
                      related establishments, he/she will issue a SVEP Nationwide inspection list. Normally, when the
                      number of similar related establishments nationwide is 10 or less, all will be selected for inspection.
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                     When there are more than 10, the Office of Statistical Analysis will assign random numbers to the
                     complete list of similar related establishments, sort those establishments in random number order,
                     and select the first 10 for inspection.

                     All establishments on the inspection list will be inspected to determine whether hazardous
                     conditions or violations similar to those found in the initial SVEP inspection are present.
                     Based on the results of these inspections, the Director may determine whether inspections of
                     additional establishments should be conducted. Any inspection conducted under a SVEP Nationwide
                     inspection list is to be coded as an unprogrammed-referral, and is to be considered a referral from
                     the National Office. An OSHA-90 is to be generated when a site is discovered where a SVEP
                     Nationwide Referral employer is working.

                     (2) In addition to or in lieu of (1) above, when the Director has reasonable grounds to believe that
                     hazards may exist at particular other related establishments, he/she may select those establishments
                     for inspection.

                     (3) The Director shall be responsible for coordinating nationwide inspections of related
                     establishments under this paragraph. Where complex or systemic issue are present, the Director
                     shall convene a team to advise on investigative strategies, such as the use of administrative
                     depositions or experts, and share information among offices participating in the inspections. The
                     team shall include representatives from the OSHA and SOL national offices and regional offices
                     where inspections will be conducted. In the event the inspections result in multiple contested
                     citations, the team will advise SOL on litigation strategies that take account of such matters as
                     distribution of work among affected offices and budget.

                   c. SVEP Nationwide Related Inspections that involve process safety management (PSM)
                      hazards.

                     A SVEP Nationwide inspection will be limited to investigations of the PSM standard for which the
                     willful or repeated citations or failure-to-abate notices were issued, and will not include units that
                     were inspected in the previous two years.

             5. Construction Worksites.

                   a. Regional Office.

                     Whenever an employer in the construction industry has a SVEP case, the Regional Administrator
                     must further investigate the employer's OSH Act compliance. If the initially inspected worksite is
                     closed before a follow-up inspection can be conducted, at least one other worksite of the cited
                     employer must be inspected to determine whether the employer is committing violations similar to
                     those found in the initial severe violator enforcement inspection. Because the worksites of
                     construction employers are often difficult to locate, the following means may be used to identify other
                     worksites of the cited employer.

                         If the severe violator enforcement case is resolved through a settlement, the agreement should
                         require the employer to notify the Area Director of its other jobsites prior to when work starts at
                         new construction sites during the following one-year period.



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                         An administrative subpoena may be issued to an employer prior to the issuance of the citation to
                         identify the location of worksites where employees of that employer are presently working or are
                         expected to be working within the next 12 months. See FOM, Chapter 15, section I,
                         (Administrative Subpoenas).

                         A subpoena may be issued at any time during an inspection if it appears that the inspection is
                         likely to result in a SVEP case and the Area Director determines (after consultation with the RA)
                         that the hazards disclosed by the inspection and the inadequacy of the employer's response to
                         those hazards indicate that a broader response by OSHA is appropriate.

                         Whenever a subpoena is to be issued pursuant to the SVEP, the Regional Administrator shall
                         coordinate with the Regional Solicitor.

                   b. National Office.

                         When a Regional Administrator determines that a SVEP construction employer is operating in a
                         different region, the Regional Administrator will send a recommendation for inspection, including
                         all relevant facts, to the Director of DEP. The Director shall consult with the Associate Solicitor as
                         appropriate.

                         When the Director of DEP deems it necessary to notify Regional Administrators and State
                         Designees regarding activity of a particular construction employer with worksites in more than
                         one Region and/or State Plan States, the Director will issue a SVEP Nationwide referral. The
                         procedures outlined under XV.B.4.b. (p. 13) will be followed.

                         Any inspection conducted under a SVEP Nationwide referral is to be coded as an
                         unprogrammed-referral, and is to be considered a referral from the National Office. An OSHA-90
                         is to be generated when a site is discovered where a SVEP Nationwide Referral employer is
                         operating.

             6. Scope of Related Inspections.

                   The scope of inspection of a related establishment will depend upon the evidence gathered in the
                   original SVEP inspection, and will mainly focus on the same or similar hazards to those found in the
                   original case.

             7. Priority of the Inspection.

                   a. In accordance with inspection priorities of the FOM (CPL 02-00-148), in Chapter 2, in section IV.B.,
                      (Inspection Priority Criteria), the SVEP nationwide referral inspections will come after imminent
                      danger, fatality, and complaints, but before other programmed inspections. But see section XVII.
                      (Relationship to Other Programs) of this Instruction (p.19), regarding when other inspections may be
                      conducted concurrently.

                   b. The Assistant Secretary by this Instruction determines that the specific inspections under the
                      Nationwide Inspections of Related Workplaces/ Worksites process are critical inspections for the
                      purpose of 29 CFR §1908.7(b)(2)(iv) and delegates to the Director of the Directorate of Enforcement
                      Programs the authority to determine site selections of those related workplaces/worksites.

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        C. Increased Company Awareness of OSHA Enforcement.

             1. Sending Citations and Notifications of Penalty to Headquarters.

                   a. For all employers that are the subject of a SVEP case, the Area Director shall mail a copy of the
                      Citations and Notifications of Penalty to the employer's national headquarters if the employer has
                      more than one fixed establishment. See sample cover letter in Appendix C.

                   b. Employee representatives (e.g., unions) shall receive a copy of the Citations and Notifications of
                      Penalty that is mailed to the employer's national headquarters.

             2. Issuing News Releases.

                   a. Regional News Releases.

                      The Regional Offices may issue a News Release for all SVEP cases upon issuance of the citations.
                      Regional Administrators have the discretion to determine which SVEP cases will receive a News
                      Release.

                   b. Nationwide Referral Inspection News Releases.

                      In SVEP cases that were a result of a Nationwide Referral, the Regional Office is to issue a News
                      Release at the time the citations are issued. In certain SVEP cases, the National Office may issue a
                      News Release in coordination with the Regional Office.

             3. Sending Letters to Corporate Officers or Coordinating Meetings with the Regional or National
                Office.

                   In cases where OSHA determines that an establishment's safety and health problems should be
                   addressed at the corporate level, the following actions should be considered:

                   a. A letter sent from the Regional Administrator, or the appropriate National Office official, to the
                      company President expressing OSHA's concern with the company's violations. A copy of the
                      citations shall be sent with the letter if the citations and cover letter have not been sent to the
                      company President previously.

                   b. A meeting may be held between OSHA, company officials, employees and unions representing
                      affected employees to discuss how the company intends to address safety and health compliance. If
                      the company operates in more than one region, this normally will require National Office
                      coordination.

                   c. Employee representatives shall be notified by letter when OSHA determines that the establishment's
                      safety and health problems need to be addressed at the corporate level.

        D. Enhanced Settlement Provisions.

            The following settlement provisions shall be considered to ensure future compliance both at the cited facility
            and at other related facilities of the employer:

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             1. Employers shall hire a qualified safety and health consultant to develop and implement an effective and
                comprehensive safety and health program or, where appropriate, a program to ensure full compliance
                with the subpart under which the employer was cited under the SVEP;

                   NOTE: Employers cannot be required in a settlement agreement to use OSHA's state consultation
                   services; such services are strictly voluntary.

             2. Applying the agreement company-wide (See CPL 02-00-090 Guidelines for Administration of Corporate-
                wide Settlement Agreements. June 3, 1991);

                   NOTE: Company-wide Settlement Agreements are to be coordinated with the National Office of the
                   Solicitor.

             3. Requiring interim abatement controls if OSHA is convinced that final abatement cannot be accomplished
                in a short period of time;

             4. In construction (and, where appropriate, in general industry), using settlement agreements to obtain
                from the employer a list of its current jobsites, or future jobsites within a specified time period. The
                employer should be required to indicate to OSHA the specific protective measure to be used for each
                current or future jobsite;

             5. Requiring the employer for a specified time period to submit to the Area Director its Log of Work-related
                Injuries and Illnesses on a quarterly basis, and to consent to OSHA conducting an inspection based on
                the information;

             6. Requiring the employer for a specified time period to notify the Area Office of any serious injury or illness
                requiring medical attention and to consent to an inspection; and

             7. Obtaining employer consent to entry of a court enforcement order under Section 11(b) of the Act.

        E. Federal Court Enforcement under Section 11(b) of the OSH Act.

            SVEP cases should be strongly considered for section 11(b) orders when it appears that such orders may
            be needed to assure compliance. An employer's obligation to abate a cited violation arises when there is a
            final order of the Review Commission affirming the citation. For guidance on drafting citations and
            settlement agreements that can maximize the deterrent effect of a Section 11(b) order, see FOM (CPL 02-
            00-148) Chapter 15, section XIV.

 XVI. SVEP Log.

        A. General.

            The National Office will maintain a SVEP Log in which inspections that meet the SVEP criteria, or are
            SVEP-related inspections (i.e., SVEP follow-ups, or inspections at other worksites of the same employer),
            are logged as they are reported to the National Office by the Regional SVEP Coordinators.

        B. Lining-Out Establishments from the SVEP Log.

            If an establishment has entered into a settlement agreement (informal or formal) in which a citation that
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            qualified the establishment for SVEP designation is deleted, or if there has been an Administrative Law
            Judge, Review Commission, or court decision that has vacated such a citation, then the entry on the SVEP
            Log will be lined-out and the IMIS "SVEP" code will be removed from that establishment's Internet
            Inspection Detail summary. The Area Director must notify the Regional SVEP Coordinator of these
            changes, who in turn must notify DEP to line-out the inspection from the SVEP Log.

 XVII. Relationship to Other Programs.

        A. Unprogrammed Inspections.

            If an unprogrammed inspection arises with respect to an establishment that is to receive an SVEP-related
            inspection, the two inspections may be conducted either separately or concurrently. This Instruction does
            not affect in any way OSHA's ability to conduct unprogrammed inspections.

        B. Programmed Inspections.

            Some establishments selected for inspection under the SVEP may also fall under one or more other OSHA
            initiatives such as Site-Specific Targeting (SST) or Local Emphasis Programs (LEP). Inspections under
            these programs may be conducted either separately or concurrently with inspections under this Instruction.

XVIII. Recording and Tracking Inspections.

        A. SVEP Code.

            This applies to all severe violator enforcement cases issued on or after the effective date of this Instruction.
            Once a case is identified as a severe violator enforcement case, enter the NEP code "SVEP" from the drop-
            down list in field 25d, for the inspection.

            NOTE: Only inspections that meet one of the four criteria for a severe violator enforcement case will be
            coded with the SVEP NEP code.

        B. NEP Codes for High-Emphasis Hazards.

            If the SVEP criterion used is that described in paragraph XII.B., the appropriate NEP codes must be entered
            in field 25d.

        C. Significant Enforcement Actions and Enhanced Settlement Codes.

            If any inspection in a significant enforcement action qualifies as a severe violator case, it is to be coded
            "SIGCASE" in item 42, for that inspection.

            EXAMPLE:          N            08               SIGCASE

            If a severe violator case receives an enhanced settlement agreement, it is to be coded "ENHSA" in item 42.

            EXAMPLE:          N            08               ENHSA

        D. Other Program Codes.

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            Remember to enter all applicable SST, REP, NEP, and LEP program codes in Item

            25c and 25d when an inspection is conducted and the inspection also meets the protocol for other
            program(s). Also, enter all applicable Strategic Management Plan hazard/industry codes in Item 25f.

 XIX. Dun & Bradstreet Number.

        If it is available, the Data Universal Numbering System (DUNS) number is to be entered in the appropriate field
        on the Establishment Detail Screen. In establishments where ownership has changed, enter the DUNS number
        for the new owner. If the new owner does not have a new DUNS number, enter the old DUNS number, if
        known. Since the DUNS number is site-sensitive, the old number will give some useful data. The field on the
        Establishment Detail Screen can be accessed by pressing F5 in Item 8 to access establishment processing.
        Once establishment processing is completed, the DUNS number will appear in Item 9b.

  XX. End of the Fiscal Year Report.

        The Directorate of Enforcement Programs (DEP) will compile an End of the Fiscal Year Report of each
        Region's SVEP activity, which will be sent to the Assistant Secretary.




                                                               Appendix A

                                          Information Needed on Each SVEP Inspection for
                                                Monthly Report to the National Office


   Employer Name                  Inspection Number           Regional Office         Area Office
   Opening Date                   SIC & NAICS codes           # of Employees Controlled


   Indicate if inspection is a SVEP, a Follow-up (FU), a Construction-Related (C-R), or a General Industry-Related
   (GI-R). If inspection is done based on an SVEP Nationwide Expansion Memo the inspection will either be a C-R or
   a GI-R.

   If the inspection is other than a SVEP, give the name and inspection number of the SVEP case to which it is a
   follow-up or related.

   Remember: any FU, C-R, or GI-R inspections can also be a SVEP.

   Indicate if construction or non-construction.

   What SVEP criteria apply (more than one can apply):




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        1) Fatality/Catastrophe -- One/more W/R/FTA based on a serious violation of any gravity related to death
        or three or more hospitalized

        2) Non-Fatality/Catastrophe -- Two/more W/R/FTA based on high gravity serious violations related to a
        High-Emphasis Hazard (excluding Process Safety Management)

        3) Non-Fatality/Catastrophe for PSM hazards -- Three/more W/R/FTA based on high gravity serious
        violations

        4) Egregious Case


   What SVEP actions have been taken (do not report any planned activities):

        1) Follow-up inspection conducted; or compelling reason not to conduct

        2) Additional construction worksite inspected

        3) Additional general industry worksite inspected

        4) News Releases issued by Regional Office

        5) Letter and citation sent to company headquarters by Region or National Office official

        6) Meeting with company officials (separate from informal conference)

        7) Enhanced settlement provisions used in informal/formal settlements

        8) Court enforcement under Sec. 11(b)



             Case submitted to RSOL

             Case submitted to N.O. SOL

             Petition filed with court [State which court & date]

             Petition granted by court [State which court & date]

             Other actions [State & give date]




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                                                               Appendix B

                                        CSHO Guidance: Considerations in Determining
                                      Company Structure and Safety and Health Organization


   When determining whether to inspect other worksites of a company that has been designated a severe violator
   enforcement case, it must first be determined whether compliance problems and issues found during the initial
   SVEP inspection are localized or are likely to exist at other, similar facilities owned and operated by that employer.
   If violations at a local workplace appear to be symptomatic of a broader company neglect for employee safety and
   health, either generally or with respect to conditions cited under the SVEP inspection, the company structure must
   be investigated to help identify other establishments and conditions similar to those found in the initial inspection.
   At the request of the Director of Directorate of Enforcement Programs, a Regional Administrator, or a Regional
   Coordinator, the Office of Statistical Analysis will be contacted to assist in identifying similar or related worksites of
   the employer.

   Extent of Compliance Problems. Are violative conditions a result of a company decision or interpretation
   concerning a standard or hazardous condition? Have corporate safety personnel addressed the standard or
   condition? Ask the following types of questions of the plant manager, safety and health personnel and line
   employees.



        Who made the decision concerning the violative operation, local management or company headquarters? Was
        the decision meant to apply to other facilities of the employer as well? If the decision was from company
        headquarters, what is their explanation?

        Is there a written company-wide safety program? If so, does it address this issue? If so, how is the issue
        addressed?

        Is there a company-wide safety department? If so, who are they and where are they located? How does
        company headquarters communicate with facilities/worksites? Are establishment/worksite management and
        safety and health personnel trained by the company?

        Do personnel from company headquarters visit facilities/worksites? Are visits on a regular or irregular basis?
        What subjects are covered during visits? Are there audits of safety and health conditions? Were the types of
        violative conditions being cited discussed during corporate visits?

        Are there insurance company or contractor safety and health audit reports that have been ignored? Are
        headquarters safety and health personnel aware of the reports and the inaction?

        Does the company have facilities or worksites other than the one being inspected that do similar or
        substantially similar work, use similar processes or equipment, or produce like products? If so, where are they?

        What is the overall company attitude concerning safety and health? Does the establishment or worksite receive
        good support from company headquarters on safety and health matters?

        Does the company provide appropriate safety and health training to its employees?

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        Ask whether the establishment's/worksite's overall condition is better or worse at present compared to past
        years? If it is worse, ask why? Has new management or ownership stressed production over safety and
        health? Is the equipment outdated or in very poor condition? Does management allege that stressed financial
        conditions keep it from addressing safety and health issues?

        Is there an active and adequately funded maintenance department? Have they identified these problems and
        tried to fix them?

        Has the management person being interviewed worked at or visited other similar facilities or worksites owned
        by the company? How was this issue being treated there?


   Identifying Company Structure. Inquire where other facilities or worksites are located and how they may be
   linked to the one being inspected? Sometimes establishment/worksite management will not have a clear
   understanding of the company structure, just an awareness of facts concerning control and influence from the
   corporate office.

        Is the establishment/worksite, or the company that owns the establishment or uses the worksite, owned by
        another legal entity (parent company)? If so, what is the name and location? Try to find out whether the
        inspected establishment/worksite is a "division" or a "subsidiary" of the parent company. (NOTE: A "division" is
        a wholly-owned part of the same company that may be differently named, e.g., Chevrolet is a division of GM. A
        "subsidiary" is a company controlled or owned by another company which owns all or a majority of its shares.
        Try to determine if the parent company has divisions or subsidiaries other than the one that owns or uses the
        establishment or worksite being inspected. If so, try to get the names and the type of business they are
        involved in. Sometimes this type of information can be found on a website or in Dun and Bradstreet. Another
        good source of information is the office of the Secretary of State within the state government.

        Are there other facilities or worksites controlled by these entities that do the same type of work and might have
        the same kinds of safety and health concerns?

        Are the company entities publicly held (have publicly traded shares) or are they closely held (owned by one or
        more individuals)?

        What are the names, positions and business addresses of relevant company personnel of whom interviewees
        are aware? For which entities do the company safety and health personnel work?

        On what kind of safety and health-related issues or subjects do personnel from company headquarters give
        instructions?

        Are there other companies owned by the same or related persons that do similar work (especially in
        construction).




                                                               Appendix C

                                                Sample Letter to Company Headquarters

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   Area Office Header

   Date

   Name of Employer's National Headquarters
   Address of Headquarters

   Dear _____:

   Enclosed you will find a copy of a Citation and Notification of Penalties for violations of the Occupational Safety
   and Health Act of 1970, which were issued to [establishment name, located in city, state]. This case has been
   identified as a severe violator enforcement case under the Occupational Safety and Health Administration's
   (OSHA) Severe Violator Enforcement Program (SVEP).

   The violations referred to in this Citation must be abated by the dates listed and the penalties paid, unless they are
   contested. This Citation and Notification of Penalties is being provided to you for informational purposes so that
   you are aware of the violations; the original was mailed to [establishment name] on [date]. We encourage you to
   work with all of your sites to ensure that these violations are corrected.

   OSHA is dedicated to saving lives, preventing injuries and illnesses and protecting America's workers. For more
   information about OSHA programs, please visit our website at www.osha.gov.

   Sincerely,




   Area Director




   Enclosure




                                                        UNITED STATES
                                                     DEPARTMENT OF LABOR
      Occupational Safety & Health Administration
      200 Constitution Ave NW
      Washington, DC 20210
       800-321-6742 (OSHA)
      TTY

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      www.OSHA.gov


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      White House
      Severe Storm and Flood Recovery
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                   Exhibit C to Lloyd Industries Warrant Application
                                     United States of America
                    OCCUPATIONAL SAFETY AND HEALTH REVIEW COMMISSION
                               1120 20th Street, N.W., Ninth Floor
                                  Washington, DC 20036-3457

                                                                                        Phone: (202) 606-5400
                                                                                        Fax: (202) 606-5050
Secretary of Labor,
Complainant,
 v.                                                            Region 3
Lloyd Industries, Inc.,                                        OSHRC Docket No. 15-0846 and 15-0847
Respondent.
                                                               OSHA Inspection No. 1008085

                          Notice of Docketing of Administrative Law Judge's Decision

The Administrative Law Judge's Report in the above referenced case was docketed with the Commission on
06/21/2017. The decision of the Judge will become a final order of the Commission on 07/21/2017 unless a
Commission member directs review of the decision on or before that date.

Any party desiring review of the Judge's decision by the Commission must file a petition for discretionary review.
Any such petition must be received by the Executive Secretary on or before 07/11/2017 in order to permit
sufficient time for its review. See Commission Rule 91, 29 C.F.R. 2200.91. All further pleadings or
communications regarding this case shall be addressed to the Executive Secretary with a copy to the DOL Solicitor
at the address below.

Executive Secretary                                          Charles F. James, Counsel for Appellate
Occupational Safety and Health Review                        Litigation Heather R. Phillips, Counsel for
Commission                                                   Appellate Litigation Office of the Solicitor, U.S.
1120 20th St., N.W., Suite 980                               DOL Room S4004 200 Constitution Avenue, N.W.
Washington, D.C. 20036-3419                                  Washington, D.C. 20210

If directed for Review by the Commission, then the Counsel for Appellate Litigation will represent the Department
of Labor. If you have questions, please contact the Executive Secretary's Office at (202) 606-5400.


                                                                  John X. Cerveny
                                                                  Executive Secretary

                                                                  /s/
Date: 06/21/2017
                                                                  Sontia Myles, Legal Clerk
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This notice has been sent to:


Brandon Jay Brigham Esq. and Jonathan L. Snare Esq.
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Fred Nicholas Braker
SMART Local 19
1301 S Columbus Blvd
Philadelphia, Pennsylvania 19147
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U.S. Occupational Health &
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1120 20th St, N.W., Suite 980
Washington, DC 20036




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                                         Philadelphia, PA 19147
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                                         Sudbury Street
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                                         Brandon Jay Brigham Esq. and Jonathan L. Snare Esq.
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                                         1701 Market Street,
                                         Philadelphia, PA 19103
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                                         Washington, DC 20004
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 Exhibit D to Lloyd Industries Warrant Application
                  UNITED STATES OF AMERICA
      OCCUPATIONAL SAFETY AND HEALTH REVIEW COMMISSION


SECRETARY OF LABOR            ) Case Nos. 15-0846, 150847
                              )
vs.                           ) Philadelphia, PA
                              )
LLOYD INDUSTRIES, INC.        ) October 17, 2016
and SHEET METAL WORKERS'      )
                              ) Volume I
                              )
                              ) 9:54 a.m.-5:57 p.m.


                 BEFORE HON. KEITH E. BELL,
                  ADMINISTRATIVE LAW JUDGE


APPEARANCES:

For Complainant:             JUD DEAN, ESQ.
                             JORDANA L. GREENWALD, ESQ.
                             U.S. DEPARTMENT OF LABOR
                             Office of the Solicitor
                             Region 3
                             The Curtis Center
                             170 S. Independence Mall West
                             Suite 630 E
                             Philadelphia, PA 19106

For Respondent:              DENNIS J. MORIKAWA, ESQ.
                             BRANDON J. BRIGHAM, ESQ.
                             MORGAN LEWIS
                             1701 Market Street
                             Philadelphia, PA 19103

                             JONATHAN L. SNARE, ESQ.
                             MORGAN LEWIS
                             1111 Pennsylvania Ave., N.W.
                             Washington, DC 20004




                  BURKE COURT REPORTING, LLC
                  1044 Route 23 N, Suite 206
                      Wayne, NJ 07470
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1    if we have a union there at the site, we try to

2    include them in there also.

3          Q.     Why did you ask for the presence of the

4    union steward?

5          A.     Because they're -- they have the option of

6    attending the opening conference and other items of

7    the inspection.      So in order for expedience to try to

8    get -- instead of repeating ourselves again, we wanted

9    the union steward there while we did all that opening

10   conference.

11         Q.     What happened after that?

12         A.     Mr. Lloyd left to go out to get the union

13   steward.

14         Q.     What happened next?

15         A.     He came back a few minutes later, maybe five

16   minutes and he asked to see a copy of the complaint,

17   and he also said that the union steward was trying to

18   contact the business agent for the union.

19         Q.     So Mr. Lloyd returned after about five

20   minutes alone?

21         A.     Yes.

22         Q.     Did you give him a copy of the complaint?

23         A.     Yes.

24         Q.     What happened next?

25         A.     He left the conference room again and I

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1    think he was gone approximately 15 minutes, and then

2    he returned with the union steward, and we continued

3    with the opening conference.

4           Q.     When he came back the first time after about

5    5 minutes and you gave him the complaint, did he

6    mention that there was anyone else at the plant who

7    was in charge of safety and health?

8           A.     I don't recall it, no.

9           Q.     Did he mention Dino Sanna, the plant manager

10   at that time?

11          A.     At that time, no.

12          Q.     So you said Mr. Lloyd then left and was gone

13   about 15 minutes?

14          A.     Approximately, yes.

15          Q.     And did he take a copy of the complaint with

16   him?

17          A.     He took the complaint as he walked out,

18   where he took the complaint I don't know, but he did

19   take it with him.

20          Q.     What happened next?

21          A.     Approximately 15 minutes he returned, and he

22   had the union steward with him.

23          Q.     And the union steward is who?

24          A.     Russell Murphy.

25          Q.     What happened next?

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1          A.     Well, over the -- when they put blankets on

2    the machine -- on the -- when they put blankets on the

3    ceiling radiation dampers they take the ring guards

4    off because they can't do the job with them on.

5          Q.     So you're talking about the CRD department?

6          A.     Yes.

7          Q.     And you're talking about a particular kind

8    of product that they make; is that right?

9          A.     Yes.

10         Q.     And what is that product?

11         A.     It's a CRD -- it's a ceiling radiation

12   damper and it gets a fireproof blanket on it.

13         Q.     And -- okay.    And why -- how does that

14   relate to the ring guards?

15         A.     They can't do the job if that's on there.

16   They can't get the -- the machine doesn't work if it's

17   on there.

18         Q.     But those are not the only rivet machines in

19   the shop where you have seen ring guards missing?

20         A.     No.    A lot of times if they break one it

21   will be off and then I'll have to -- they don't tell

22   me about it, for one thing.       And if Bill sees it he'll

23   tell me to put them on.

24         Q.     And in addition to putting ring guards on

25   during that period of time before OSHA came onto the

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1    shop floor you did some other stuff, right?

2          A.     I was mostly working on those.

3          Q.     Right.   But you did do some other stuff?

4          A.     Yeah.    Right.   We had to move some things

5    around.

6          Q.     Yeah, because OSHA was there?

7          A.     They -- well, because I was told to.

8          Q.     Because OSHA was there?

9          A.     I didn't know that at first until I saw them

10   come out on the floor.

11         Q.     So you were told to put ring guards on?

12         A.     Yes.

13         Q.     You were told to adjust ring guards?

14         A.     Yes.

15         Q.     You were told to move a scale?

16         A.     Yes.

17         Q.     You were told to move a press?

18         A.     Yes.

19         Q.     You were told to move a fan?

20         A.     Fan?    Yeah, I guess so.

21         Q.     All within the same 15, 20 minute period of

22   time, right?

23         A.     No.    I just -- when I had a chance to do it

24   I did it.

25         Q.     That morning?

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1          A.     That day, yes.

2          Q.     That morning before OSHA came in?

3          A.     No, while OSHA was there.

4          Q.     But OSHA didn't see you doing any of that?

5          A.     I don't think so.    No.

6          Q.     You also moved a grinder, right?

7          A.     Yes.

8          Q.     What else did you do before OSHA came in?

9          A.     That's about it, I guess.

10         Q.     You didn't put any guards on any other

11   machines?

12         A.     No.

13         Q.     And now that we're here today and we're

14   sitting in front of a judge and you're under oath,

15   you're pretty sure it was Mr. Lloyd who told you to do

16   this, right?

17         A.     Yes.

18         Q.     Yeah.   It almost certainly was?

19         A.     Yes.

20         (Pause)

21         Q.     All right.    Let's look at Government Exhibit

22   91.

23                MR. DEAN:    May I approach?

24                JUDGE BELL:    Yes, you may.

25         Q.     Mr. Fadule, I've put in front of you

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                     UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

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In re                                :
Inspection of                        :
                                     :                     NO. 21-mj-1854
Lloyd Industries, Inc.               :
located at 231 Commerce Drive        :
Montgomeryville, Pennsylvania 18936  :
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                              WARRANT FOR INSPECTION

TO:                                             Jean G. Kulp, Area Director
                                                Allentown Area Office
                                                Occupational Safety and Health Administration,
                                                Region III
                                                United States Department of Labor

Application having been made, probable cause having been demonstrated, and a reasonable
scope of inspection having been proposed:

IT IS HEREBY ORDERED that, pursuant to section 8 of the Occupational Safety and Health
Act of 1970, 29 U.S.C. § 657 (the OSH Act), YOU OR YOUR DULY DESIGNATED
REPRESENTATIVE(S) ARE AUTHORIZED to enter the workplace of Lloyd Industries, Inc.,
at 231 Commerce Drive, Montgomeryville, Pennsylvania during regular working hours and to
conduct a follow-up inspection.

The safety and health inspection shall entail an assessment of whether Lloyd Industries, Inc. is
committing violations similar to the violations that were affirmed in Docket Nos. 15-0846 and
15-0847, which became a final order of the Occupational Safety and Health Review Commission
on July 21, 2017, and any hazards in plain view, to determine whether this employer is
furnishing to its employees employment and a place of employment which are free from
recognized hazards that are causing or are likely to cause death or serious physical harm to his
employees, and whether this employer is complying with the occupational safety and health
standards promulgated under the OSH Act and the rules, regulations and orders issued pursuant
to the OSH Act.

Such inspection may include the taking of photographs and/or videotaping for evidentiary
purposes and the questioning of any employer, owner, operator, agent or employee of the
workplace privately on the employer’s premises during working hours, as authorized by 29
C.F.R. § 1903.7(b). The inspection may also include the affixing of monitoring devices upon
employees to determine the extent of their exposure to airborne contaminants and/or noise, as
authorized by 29 C.F.R. § 1903.7(b).
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The inspection and investigation shall also include the opportunity for a representative of the
employer and a representative authorized by employees to accompany the Compliance Officer
during the physical inspection of the workplace. If there is no authorized representative of the
employees, the compliance officer shall consult with a reasonable number of employees during
the inspection of the worksite concerning matters of health and safety in the workplace, pursuant
to section 8(e) of the Act, 29 U.S.C. § 657(e), and 29 C.F.R. § 1903.8.

The inspection shall commence within fourteen (14) days after the issuance of the warrant, and
shall proceed for a reasonable period of time in order to make the assessments described above.
OSHA may return to the worksite on subsequent days if the inspection cannot be completed
within one day. A return shall be made to this Court within seven (7) calendar days following
the completion of the inspection.

                                     BY THE COURT:

Date: ____________
      December 10, 2021              ____________________________________
                                      /s/ Elizabeth T. Hey
                                     ELIZABETH T. HEY
                                     UNITED STATES MAGISTRATE JUDGE
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                                    RETURN OF SERVICE

I hereby certify that a copy of the within warrant was duly served (indicate by check method
used).

                                     : on a duly authorized agent
                                     : by leaving at principal office
                                     : or place of business, to wit:
                                     :__________________________________
                                     :__________________________________
                                     :__________________________________

                      On the company named hereon

                      ___________________________________
                      (Month) (Day) (Year)

                      ___________________________________
                      (Name of person making service)

                      ___________________________________
                      (Official Title)


                                           RETURN

Inspection of the establishment described in the warrant was made
on _____________________, 202_.



                      ________________________________
                      Compliance Officer
